Case 2:05-md-01657-EEF-DEK Document 45013-1 Filed 06/19/10 Page 1 of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Glena L. Henderson JUDGE FALLON

v

Merck & Co., Inc. MAGISTRATE JUDGE KNOWLES

* *¥ ee eH He He KH ¥

Docket No. 2:07-cv-01158

4 AC 4 a IC he 2 oe AE ee he ae ie a Ce OR AC eo IK ok OK KK

ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Glena L. Henderson in the above-captioned
case be and they hereby are dismissed with prejudice with each party to bear his or her own

costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
